Case 1:16-cv-00295-RGA Document 147 Filed 10/01/18 Page 1 of 2 PageID #: 3157



                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

NETWORK MANAGING SOLUTIONS,                      )
LLC,                                             )
                                                 )
               Plaintiff,                        )
                                                 )
        v.                                       )       C.A. No. 16-295-RGA
                                                 )
AT&T MOBILITY LLC,                               )
                                                 )
               Defendant.                        )
                                                 )


              STIPULATION AND [PROPOSED] ORDER EXTENDING STAY

        WHEREAS, Plaintiff Network Managing Solutions, LLC and Defendant AT&T Mobility

LLC agreed to a stay in the present actions on June 20, 2018 (D.I. 143);

        WHEREAS, the Court entered the stay as an order of the Court on June 22, 2018 (D.I.

144);

        WHEREAS, the parties’ stipulated order required the parties to file a joint letter updating

the Court or requesting a status conference by August 17, 2018;

        WHEREAS, the parties received a first extension from the Court to file the joint letter by

October 1, 2018;

        WHEREAS, for the same reasons set forth in the stipulated order and the first extension,

the parties agree that the above-captioned actions should remain stayed while the negotiations

progress, where the parties have made significant progress and are hopeful that they will

culminate in the filing of a dismissal of this action;

        NOW THEREFORE, Plaintiff Network Managing Solutions, LLC and Defendant AT&T

Mobility LLC, subject to approval of the Court, stipulate and agree that the deadline to file the

joint letter is extended by four weeks to October 29, 2018.
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Case 1:16-cv-00295-RGA Document 147 Filed 10/01/18 Page 2 of 2 PageID #: 3158




Dated: October 1, 2018                           Respectfully submitted,

FARNAN LLP                                       SHAW KELLER LLP

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SO ORDERED, this         day of                                   , 2018.



                                   United States District Judge




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